    Case 2:22-cv-00612-CDS-EJY Document 2-2 Filed 04/13/22 Page 1 of 1




                 Securities and Exchange Commission v. Beasley, et al.
                                Case No. 2:22-cv-00612

       Plaintiff’s Ex Parte Application for Entry of Temporary Restraining Order
                               and Other Ancillary Relief

                                    Index of Exhibits

Exh. No.   Description                                                             Date
   A       Rule 65(B) Certification                                                04.12.2022
   B       [Proposed] Temporary Restraining Order and Orders: (1) Freezing
           Assets; (2) Requiring Accountings; (3) Prohibiting the Destruction of
           Documents; (4) Granting Expedited Discovery; and (5) Order to
           Show Cause re Preliminary Injunction
   C       Declaration of Joni Ostler and Exhibits 1-41 (Parts 1-3)                04.12.2022
   D       Declaration of Amir Salimi and Exhibits 1-2                             04.12.2022
